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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF FLORIDA
                                  PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                                                  Case No: 3:00cr45/RV
                                                                                          3:06cv37/RV/MD
KEVIN MICHAEL KELLY


                                 REPORT AND RECOMMENDATION

        This matter is before the court upon defendant’s motion to vacate, set aside,
or correct sentence pursuant to 28 U.S.C. § 2255 (doc. 641). Rule 4(b) of the Rules
Governing Section 2255 Proceedings provides in part that “[i]f it plainly appears
from the face of the motion and any annexed exhibits and the prior proceedings in
the case that the movant is not entitled to relief in the district court, the judge shall
make an order for its summary dismissal and cause the movant to be notified.” After
a review of the record, it is the opinion of the undersigned that the motion is
untimely and that it should be summarily dismissed.
        Defendant was found guilty after a jury trial of violations of 18 U.S.C. §§ 2, 371,
1343, & 2314, offenses related to money laundering. He was sentenced to a term of
108 months imprisonment. His conviction and sentence were affirmed by the
Eleventh Circuit on May 9, 2002. He did not file any other motions or petitions with
respect to his conviction until he filed the instant motion pursuant to the prison
mailbox rule1 on January 20, 2006.


        1
           Houston v. Lack, 487 U.S . 266, 108 S.C t. 2379, 101 L.E d.2d 245 (1988) (holding that a pro se
inm ate ’s notice of a ppeal was filed as of the tim e he placed it in the prison mailbox, thus creating the “prison
mailbox rule”); W ashington v. United States, 243 F.3d 1299, 1301 (11 th Cir. 2001) (absent evidence to the
contrary, court assumes that a pro se petition is delivered to prison authorities for mailing the date it was
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In this motion defendant essentially contends that he is entitled to have his sentence
vacated or set aside based the Supreme Court’s decision in United States v. Booker,
543 U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005).
            Title 28 U.S.C. § 2255 imposes a one year time limitation on the filing of
motions under this section. The one year period of time runs from the latest of:
                 (1) the date on which the judgment of conviction becomes
                 final;
                 (2) the date on which the impediment to making a motion
                 created by governmental action in violation of the
                 Constitution or laws of the United States is removed, if the
                 petitioner was prevented from making a motion by such
                 governmental action;
                 (3) the date on which the right asserted was initially
                 recognized by the Supreme Court, if that right has been
                 newly recognized by the Supreme Court and made
                 retroactively applicable to cases on collateral review; or
                 (4) the date on which the facts supporting the claim or
                 claims presented could have been discovered through the
                 exercise of due diligence.

28 U.S.C. §2255. Defendant’s motion is therefore facially untimely.
        As noted above, defendant indicates in his motion that he relies on the
principles set forth in United States v. Booker, supra in support of his contention
that his sentence must be vacated. However, as will explained further below, Booker
has not been made retroactively applicable to cases on collateral review.
        In the seminal case of Apprendi v. New Jersey,2 the Supreme Court held that,
“[o]ther than the fact of a prior conviction, any fact that increases the penalty for a
crime beyond the prescribed statutory maximum must be submitted to a jury, and
proved beyond a reasonable doubt.” 530 U.S. at 490, 120 S.Ct. at 2362-63. See also
Ring v. Arizona, 536 U.S. 584, 589, 122 S.Ct. 2428, 2432, 153 L.Ed.2d 556 (2002)



signed); Adams v. United States, 173 F.3d 1339 (11th Cir. 19 99).

        2
            Apprendi v. New Jersey, 530 U.S. 466, 120 S.Ct. 2348, 2362 -63, 147 L.Ed .2d 435 (200 0).

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(concluding under Apprendi that “[c]apital defendants . . . are entitled to a jury
determination of any fact on which the legislature conditions an increase in their
maximum punishment.”).                Since Apprendi was decided, the Supreme Court has
decided two cases that relate to federal sentencing, Blakely v. Washington,3 and
United States v. Booker,4 upon which the defendant relies.
        As clarified in Blakely:
        the “statutory maximum” for Apprendi purposes is the maximum
        sentence a judge may impose solely on the basis of the facts reflected
        in the jury verdict or admitted by the defendant. See Ring, supra, 536
        U.S. at 602, 122 S.Ct. at 2428 (“‘the maximum he would receive if
        punished according to the facts reflected in the jury verdict alone’”
        (quoting Apprendi, supra, 503 U.S. at 483, 120 S.Ct. at 2348)) . . . . In
        other words, the relevant “statutory maximum” is not the maximum
        sentence a judge may impose after finding additional facts, but the
        maximum he may impose without any additional findings.

124 S.Ct. at 2537-38 (emphasis in original, some citations omitted); see also In re
Dean, 375 F.3d 1287, 1290 (11th Cir. 2004) (quoting Blakely).
        In United States v. Booker, 543 U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005),
the Supreme Court extended its holding in Blakely to the Sentencing Guidelines,
holding that the mandatory nature of the federal guidelines rendered them
incompatible with the Sixth Amendment’s guarantee to the right to a jury trial. It
excised two parts of the Sentencing Reform Act to cure the constitutional defects:
18 U.S.C. § 3553(b)(1), which made the guidelines result binding on the sentencing
court and § 3742(e), which required de novo review of sentences on appeal. Id. at
764. This does not mean, however, that Booker can be applied to cases in which the
conviction is final, a fact which is crucial to the court’s consideration of the instant
motion.       Both language within Booker, discussed infra, and Supreme Court
precedent indicate otherwise.

        3
            Blakely v. Washington, 542 U.S. 296, 124 S.Ct. 2531, 159 L .Ed.2d 40 3 (2004).

        4
            Un ited States v . Boo ker, 543 U.S . 220, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005 ).

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        In Duncan v. Louisiana, 391 U.S. 145, 88 S.Ct. 1444, 20 L.Ed.2d 491 (1968) the
Supreme Court held that the Sixth Amendment’s guarantee of the right to a jury trial
applied to the states. In DeStephano v. Woods, 392 U.S. 631, 88 S.Ct. 2093, 20
L.Ed.2d 1308 (1968) the Court held that Duncan would not be given retroactive
application - that it applied only to those cases that were not final at the time it was
decided, and that it did not apply to cases on collateral attack. The Court reasoned
that the right to a jury trial was fundamental to our system of justice, but that a trial
without a jury would not necessarily result in an inaccurate verdict. Therefore, it
would not be necessary to grant a new trial to every person convicted without a jury.
        In Ring v. Arizona, 536 U.S. 584, 122 S.Ct. 2428, 153 L.Ed.2d 556 (2002) the
Supreme Court held that only a jury, not a judge, could make findings on the
aggravating factors necessary to invoke the death penalty. In Schriro v. Summerlin,
542 U.S. 348, 124 S.Ct. 2519, 159 L.Ed.2d 442 (2004) the Court held that Ring applied
only to those cases that were not final at the time it was decided, and that it did not
apply to cases on collateral attack. The Court reasoned that the rule announced in
Ring was a procedural rule, not a substantive one, because it did not define an
element of a crime. Rather, it determined the manner in which fact finding is done.
The Schriro Court relied on DeStephano, supra, noting that “[i]f . . . a trial held
entirely without a jury was not impermissibly inaccurate, it is hard to see how a trial
in which a judge finds only aggravating factors could be.” 124 S.Ct. at 2526.
        This is instructive on the application of Booker. The Booker Court expressly
noted that its holding was to be applied retroactively to “all cases ... pending on
direct review or not yet final.” Booker, 125 S.Ct. at 769 (citation omitted). It did not
announce that the new rule would apply retroactively for cases on collateral attack,
such as this one. This reasoning necessarily follows from DeStephano and Schriro.
In those cases the Court held that it was not impermissibly inaccurate to conduct a
criminal trial entirely without a jury, or for a judge alone to find aggravating factors
necessary to trigger a death sentence. Based on those holdings, it is difficult to


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conclude that a hearing in which a judge finds only aggravating factors that result
in an increased sentence could be impermissibly inaccurate. See Schriro, 124 S.Ct.
at 2526.
        Moreover, the Booker Court cited prior precedent with approval, stating that
“[T]he constitutional safeguards that figure in our analysis concern not the identity
of the elements defining criminal liability but only the required procedures for
finding the facts that determine the maximum permissible punishment.” Booker, 125
S.Ct. at 755 (citations omitted). The significance of this is that unlike substantive
rules, new rules of procedure generally are not retroactive. Schriro, 542 U.S. 348,
124 S.Ct. at 2523, 2526 (2004) (“[I]t does not follow that, when a criminal defendant
has had a full trial and one round of appeals in which the [prosecution] faithfully
applied the Constitution as we understood it at the time, he may nevertheless
continue to litigate his claims indefinitely in hopes that we will one day have a
change of heart.”).
        Finally, the Eleventh Circuit and other appellate courts have held that neither
Booker nor Blakely applies retroactively to cases on collateral review.          Varela v.
United States, 400 F.3d 864, 866-868 (11th Cir.), cert. denied, 126 S.Ct. 312, 163
L.Ed.2d 269 (2005); see also In re Anderson, 396 F.3d 1336 (11th Cir. 2005) (holding
that only the Supreme Court can make a new rule retroactive on collateral review,
and that it must do so explicitly); Bey v. United States, 399 F.3d 1266, 1269 (10th Cir.
2005) (“Booker may not be applied retroactively to second or successive habeas
petitions.”); Humphress v. United States, 398 F.3d 855, 860 (6th Cir. 2005) (“[W]e
conclude       that Booker's rule does not apply retroactively in collateral
proceedings....”); Green v. United States, 397 F.3d 101, 103 (2nd Cir. 2005) (per
curiam) (“[N]either Booker nor Blakely [v. Washington, 542 U.S. ----, 124 S.Ct. 2531,
159 L.Ed.2d 403 (2004),] apply retroactively to Green's collateral challenge.”);
McReynolds v. United States, 397 F.3d 479, 481 (7th Cir. 2005) (“Booker does not
apply retroactively to criminal cases that became final before its release on January


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12, 2005.”); Cirilo-Munoz v. United States, 404 F.3d 527, 533 (1st Cir. 2005) (it is
unlikely that the Supreme Court will adopt a retroactivity analysis that opens up to
required reexamination practically all of the federal sentences imposed since the
guidelines went into effect in 1987). Since Booker’s effect on sentencing guidelines
cases is not retroactive on collateral review, it does not assist the defendant in
circumventing the one year time limitation on filing § 2255 motions. And, because
defendant’s motion does not fall within any of the other exceptions to the one year
time limitation and it should be summarily dismissed as untimely.
        Accordingly, it is respectfully RECOMMENDED:
        The motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. §
2255 (doc. 641) be summarily DISMISSED as untimely.


        At Pensacola, Florida, this 30th day of January, 2006.



                                                /s/   Miles Davis
                                                      MILES DAVIS
                                                      UNITED STATES MAGISTRATE JUDGE




                                           NOTICE TO THE PARTIES

Any objections to these proposed findings and recommendations must be filed within ten
days after being served a copy thereof. A copy of objections shall be served upon all other
parties. Failure to object may limit the scope of appellate review of factual findings. See 28
U.S.C. § 636; Local Rule 27(B); United States v. Roberts, 858 F.2d 698, 701 (11th Cir. 1988).




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